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                                         February 14, 2024

    VIA ECF
    Honorable Michael A. Shipp, U.S.D.J.
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

              Re:       In re: Johnson & Johnson Talcum Powder Products, Marketing,
                        Sales Practices, and Products Liability Litigation
                        Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Shipp:

           On behalf of the Plaintiffs’ Steering Committee (PSC) we write to state that
    we have reviewed the Morelli Law Firm letter that was filed on the docket on
    February 8, 2024 (Dkt. No. 29020) that seeks guidance from the Court regarding a
    purported inconsistency between Case Management Order No. 9 (ECF No. 27293)
    and the Court’s Order of October 10, 2023 Governing Amendments to Complaints
    (ECF No. 28519), as well as the letter response of counsel for the Johnson & Johnson
    Defendants (Susan M. Sharko, Esquire) filed on the docket on February 12, 2024
    (ECF No. 29029).

           We also wish to advise the Court that the Plaintiffs’ Leadership Committee
    has been and remains communicative and responsive to the questions and concerns
    of the MDL firms on all issues impacting the governance of this MDL. In
    particular, Leadership has had direct communications with the Morelli firm to
    decisively address their particular questions on this issue. We note, as does Ms.
    Sharko, that CMO 9 provides a mechanism for the Morelli Law Firm to obtain relief
    from the deadline in CMO 9 (February 28, 2024), i.e., by filing and serving a notice
    as to why Mr. Morelli is unable to meet the deadline for the Court to consider for
    granting relief.
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                                  Respectfully submitted,

                      s/ P. Leigh O'Dell        s/ Michelle A. Parfitt
                      P. Leigh O'Dell           Michelle A. Parfitt

                              Plaintiffs’ Co-Lead Counsel

    cc:   All Counsel (via ECF)
